20-12345-mg        Doc 2964        Filed 03/05/24 Entered 03/05/24 16:51:52                     Main Document
                                               Pg 1 of 10



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On March 5, 2024, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On March 5, 2024, I caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On March 5, 2024, I also caused a true and correct copy of the following documents to be

served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.

DOCS_LA:351116.1 18491/002
4891-9061-0091.1 18491.002
20-12345-mg        Doc 2964    Filed 03/05/24 Entered 03/05/24 16:51:52            Main Document
                                           Pg 2 of 10



AMENDED NOTICE OF HEARING FOR A STATUS CONFERENCE ON (I) THE
MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING
EXAMINATION OF WITNESSES AND THE PRODUCTION OF DOCUMENTS AND
(II) THE STATUS CONFERENCE REGARDING THE DISCLOSURE BY
INTERSTATE FIRE & CASUALTY COMPANY, NATIONAL SURETY
CORPORATION, AND FIREMAN’S FUND INSURANCE COMPANY OF SURVIVOR
PERSONAL INFORMATION FROM PROOFS OF CLAIM TO THIRD PARTIES
        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: March 5, 2024

                                                     /s/ Janice G. Washington
                                                        Janice G. Washington




4891-9061-0091.1 18491.002                       2
DOCS_LA:351116.1 18491/002
20-12345-mg        Doc 2964   Filed 03/05/24 Entered 03/05/24 16:51:52   Main Document
                                          Pg 3 of 10



                                        EXHIBIT A

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4891-9061-0091.1 18491.002
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                                          Pg 4 of 10



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4891-9061-0091.1 18491.002
20-12345-mg        Doc 2964   Filed 03/05/24 Entered 03/05/24 16:51:52   Main Document
                                          Pg 5 of 10



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4891-9061-0091.1 18491.002
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                                          Pg 6 of 10



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4891-9061-0091.1 18491.002
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                                          Pg 7 of 10




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4891-9061-0091.1 18491.002
20-12345-mg        Doc 2964   Filed 03/05/24 Entered 03/05/24 16:51:52   Main Document
                                          Pg 8 of 10



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                                             Pg 10 of 10



                                            EXHIBIT B

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